         Case: 13-6058         Document: 006111835537             Filed: 10/01/2013        Page: 1           (1 of 2)
                                              No. 13-6058

                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT
                                                                                            FILED
                                                                                      Oct 01, 2013
GRAMERCY INSURANCE COMPANY,                                )                     DEBORAH S. HUNT, Clerk
                                                           )
        Plaintiff-Appellee,                                )
                                                           )
v.                                                         )       ORDER
                                                           )
EXPEDITOR’S EXPRESS, INC.; JOHN TULLIS;                    )
WILLIAM LITTLEFIELD, dba Littlefield                       )
Brothers,                                                  )
                                                           )
        Defendants,                                        )
                                                           )
SHIRLEY A. BROWN, Administrator of Estate of               )
Donald D. Underwood,                                       )
                                                           )
        Defendant-Appellant.                               )
                                                           )




        Appellant Shirley A. Brown and Appellee Gramercy Insurance Company jointly move to

hold this appeal in abeyance in light of proceedings of the Tennessee Insurance Guaranty Association

with repsect to Gramercy.

        The motion is GRANTED, and this appeal shall be held in abeyance pending further order.

The parties are directed to file a written status report every 60 days, with the first such report due the

60th day from entry of this order.

                                                ENTERED PURSUANT TO RULE 45(a)
                                                RULES OF THE SIXTH CIRCUIT




                                                Deborah S. Hunt, Clerk




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        Case: 13-6058         Document: 006111835547         Filed: 10/01/2013     Page: 1          (2 of 2)




                           UNITED STATES COURT OF APPEALS
                                FOR THE SIXTH CIRCUIT
                                100 EAST FIFTH STREET, ROOM 540
  Deborah S. Hunt              POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
      Clerk                        CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                Filed: October 01, 2013




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                    Re: Case No. 13-6058, Gramercy Insurance Company v. Expeditor's Express, Inc., et al
                        Originating Case No. : 3:12-cv-00509

Dear Counsel,

  The Court issued the enclosed Order today in this case. Please email your status reports to:

ROY_FORD@CA6.USCOURTS.GOV

                                                Sincerely yours,

                                                s/Roy G. Ford
                                                Case Manager
                                                Direct Dial No. 513-564-7016

cc: Mr. Keith Throckmorton

Enclosure




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